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 4
     Attorney for Defendant
 5   CHRISTINE CORSBIE
 6
 7
                               UNITED STATES DISTRICT COURT
 8
                              EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,                  )       Case No. 08-CR-00324
11                                              )
            Plaintiff,                          )       MOTION FOR CONTINUANCE
12                                              )       OF STATUS CONFERENCE AND
                   vs.                          )       [PROPOSED] ORDER
13                                              )
     CHRISTINE CORSBIE, et al.                  )
14                                              )
           Defendants.                          )
15   _______________________________            )
16                                                  –o0o–
17          IT IS HEREBY STIPULATED by and between Assistant United States Attorney
18   William S. Wong, counsel for plaintiff, Attorney Erin J. Radekin, counsel for defendant
19   Christine Corsbie, and Attorney Ronald J. Peters, counsel for defendant John Allen Lee, that
20   the status conference currently set for July 10, 2009 at 9:00 a.m. be vacated and continued to
21   July 31, 2009 at 9:00 a.m. in the courtroom of the Honorable Garland E. Burrell.
22          The reason for this request is that Ms. Radekin needs additional time to review the
23   plea agreement with Ms. Corsbie. Further, Mr. Peters and Mr. Wong need additional time
24   for plea negotiations. The Court is advised that Mr. Wong and Mr. Peters concur with this
25   request and have authorized Ms. Radekin to sign this stipulation on their behalf.
26          The parties further agree and stipulate that the time period from the filing of this
27   stipulation until July 31, 2009 should be excluded in computing time for commencement of
28   trial under the Speedy Trial Act, based upon the interest of justice under 18 U.S.C. §
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 1   3161(h)(8)(B)(iv) and Local Code T4, to allow continuity of counsel and to allow reasonable
 2   time necessary for effective defense preparation. It is further agreed and stipulated that the
 3   ends of justice served in granting the request outweigh the best interests of the public and the
 4   defendant in a speedy trial.
 5           Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
 6   IT IS SO STIPULATED
 7   Dated: July 9, 2009                                 McGREGOR W. SCOTT
                                                         United States Attorney
 8
                                                   By:         /s/ William S. Wong
 9                                                       WILLIAM S. WONG
                                                         Assistant United States Attorney
10
     Dated: July 9, 2009                                       /s/ Erin J. Radekin
11                                                       ERIN J. RADEKIN
                                                         Attorney for Defendant
12                                                       CHRISTINE CORSBIE
13
                                                 ORDER
14
             For the reasons set forth in the accompanying stipulation and declaration of counsel,
15
     the status conference of July 9, 2009 at 9:00 a.m. is VACATED and the above-captioned
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     matter is set for status conference on July 31, 2009 at 9:00 a.m. The court finds excludable
17
     time in this matter through July 31, 2009 under 18 U.S.C. § 3161(h)(8)(B)(iv) and Local
18
     Code T4, to allow continuity of counsel and to allow reasonable time necessary for effective
19
     defense preparation. For the reasons stipulated by the parties, the Court finds that the interest
20
     of justice served by granting the request outweigh the best interests of the public and the
21
     defendant in a speedy trial. 18 U.S.C. 3161(h)(8)(A), (h)(8)(B)(iv).
22
     IT IS SO ORDERED.
23
     Dated: July 15, 2009
24
25
                                              GARLAND E. BURRELL, JR.
26                                            United States District Judge
27
28                                                   2
